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                Exhibit 1
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                                                             EXHIBIT 1 - NICKERSON DECLARATION
                                                       INFORMATION REGARDING 74 PETITION RESPONDENTS

                                                                                                                                                                Last
                                                                         Last Offboard                              GSF        SSD       ROAR       AMZL      Delivery
                            Services Provided -    Services Provided -      Date, if      Solely Delivered GSF,   Delivery   Delivery   Delivery   Delivery    Block
Petition Respondent Name    First Delivery Block   Last Delivery Block     applicable          SSD, ROAR           Blocks     Blocks     Blocks     Blocks     State
Albasha, Mohammad               9/30/2017              1/19/2018          1/21/2018               Yes             100.00%    0.00%       0.00%     0.00%        CA
Baker, Charles                  4/16/2018              4/18/2018          4/19/2018               Yes             100.00%    0.00%       0.00%     0.00%        NJ
Camarena, Joel                 10/15/2016              1/17/2018          1/18/2018               Yes             100.00%    0.00%       0.00%     0.00%        CA
Cole, Mervyn                    11/6/2017              6/30/2024                                  Yes              99.83%    0.00%       0.17%     0.00%        CA
Juarez, Rafael                 12/20/2016              1/22/2020          1/23/2020               Yes             100.00%    0.00%       0.00%     0.00%        CA
Lawson, Ray                    11/21/2016              2/11/2017                                  Yes             100.00%    0.00%       0.00%     0.00%        CA
Martinez, Danny                10/16/2016              9/1/2017            9/2/2017               Yes             100.00%    0.00%       0.00%     0.00%        CA
Olomi, Helai                    6/23/2017             11/13/2019                                  Yes             100.00%    0.00%       0.00%     0.00%        CA
Whitworth, Philip Brandon       1/19/2017              7/18/2018          7/19/2018               Yes             100.00%    0.00%       0.00%     0.00%        TN
Yousif, Atheer                  10/9/2017              1/22/2018                                  Yes             100.00%    0.00%       0.00%     0.00%        CA
Yousif, Fadi                    10/6/2017              1/6/2018                                   Yes             100.00%    0.00%       0.00%     0.00%        CA
Zazou, Zouaoui                 12/21/2016              8/14/2022                                  Yes              95.83%    4.17%       0.00%     0.00%        CA
Miller, Shawn                   12/6/2016              5/16/2022                                  No               99.54%    0.03%       0.00%     0.43%        CA
Johnson, Dwayne                 2/18/2017              6/30/2024                                  No               76.85%    21.98%      0.22%     0.95%        DE
Sponberg, Kimberly              10/8/2016              12/8/2017          2/27/2018               No               98.88%    0.00%       0.00%     1.12%        CA
Yarleque, Cinthia               12/2/2019              8/25/2020                                  No               98.57%    0.00%       0.00%     1.43%        NJ
Zollner, Michael                5/25/2020              10/5/2020          10/6/2020               No               0.00%     95.40%      0.00%     4.60%        VA
Brown, Shenia                  10/24/2016              9/6/2018           4/30/2017               No               95.18%    0.00%       0.00%     4.82%        IL
Dahy, Noor                     12/22/2016              6/30/2024                                  No               87.59%    6.84%       0.00%     5.56%        CA
Jones, Jason Tyrone             4/21/2017             12/12/2020         12/14/2020               No               92.71%    0.00%       0.00%     7.29%        CA
Talbot, Matthew                 4/24/2020              9/18/2020         8/26/2023                No               88.80%    0.00%       0.00%     11.20%       CA
Gusciora, Jeffery              11/22/2017             12/12/2019         12/13/2019               No               85.08%    0.00%       0.00%     14.92%       MN
Matias, Kevin                  10/30/2016              3/20/2017         4/29/2017                No               82.61%    0.00%       0.00%     17.39%       CA
Garciaflores, John              9/16/2017              8/2/2020          8/12/2020                No               80.43%    0.00%       0.00%     19.57%       UT
Howells, Rhett                  2/5/2016              10/18/2021                                  No               80.43%    0.00%       0.00%     19.57%       OR
Davarci, Sancak                11/22/2020              8/8/2023                                   No               76.53%    0.00%       0.00%     23.47%       NY
Wilkins, Debra                  12/9/2016              6/30/2024                                  No               15.54%    58.99%      0.07%     25.40%       AZ
Wilson, Lori                    7/22/2016              7/24/2021          7/25/2021               No               73.75%    0.00%       0.00%     26.25%       MN
Covarrubias, Anthony           12/23/2015              8/7/2017           9/19/2017               No               68.12%    0.00%       0.00%     31.88%       TX
Wells, Bryan                    1/7/2021               2/17/2021                                  No               60.00%    0.00%       0.00%     40.00%       CA
Greenberg, Charles              4/17/2016             12/17/2023                                  No               56.83%    0.32%       0.95%     41.90%       FL
Akramy, Ramin                   4/12/2018              9/21/2022                                  No               53.51%    0.00%       0.00%     46.49%       CA
Rudd, Nikenya                  10/26/2018              6/14/2024                                  No               53.13%    0.00%       0.16%     46.71%       TN
Ahmed, Mohamed Gaafar           5/15/2018              8/19/2018                                  No               49.51%    0.00%       0.00%     50.49%       CO
Gonzalez, Carlos Esquivel      11/30/2016              1/9/2023                                   No               37.62%    5.61%       0.00%     56.77%       CA
Freeman, Kathleen               11/6/2017              9/11/2019                                  No               41.57%    0.00%       0.00%     58.43%       TX
Kavasadze, David                3/29/2018             10/10/2022                                  No               38.73%    0.00%       0.00%     61.27%       UT



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                                                                  EXHIBIT 1 - NICKERSON DECLARATION
                                                            INFORMATION REGARDING 74 PETITION RESPONDENTS

                                                                                                                                                                     Last
                                                                              Last Offboard                              GSF        SSD       ROAR       AMZL      Delivery
                                 Services Provided -    Services Provided -      Date, if      Solely Delivered GSF,   Delivery   Delivery   Delivery   Delivery    Block
Petition Respondent Name         First Delivery Block   Last Delivery Block     applicable          SSD, ROAR           Blocks     Blocks     Blocks     Blocks     State
Murray, Shanita                      10/7/2017              6/9/2024                                    No             10.47%     26.69%      0.00%      62.84%      CA
Soedarmo, Adrio                      11/6/2016              12/6/2019          12/7/2019                No             35.10%     0.00%       0.00%      64.90%      CA
Adams, Craig                         11/3/2017              5/5/2018            5/6/2018                No             29.38%     0.00%       0.00%      70.62%      CO
Apostolas, Charles                  11/26/2018              3/2/2020            3/5/2020                No             26.65%     0.00%       0.00%      73.35%      CA
Shehab, Jon                          3/29/2019              4/24/2021                                   No             22.22%     0.00%       0.00%      77.78%      CA
West, Brandon                       12/14/2016             12/27/2017         12/27/2017                No             13.81%     0.00%       0.00%      86.19%      TX
Clarke, Timothy                      6/12/2018             12/24/2021                                   No             12.97%     0.00%       0.00%      87.03%      CA
Quinones, Michelle                   3/27/2019              3/13/2020                                   No             8.01%      0.00%       0.00%      91.99%      CA
Houston, LaQuita                     3/22/2020              5/21/2020          5/23/2020                No             6.67%      0.00%       0.00%      93.33%      CA
Ruffalo, Debra                      11/27/2016              4/14/2018          4/15/2018                No             1.71%      0.00%       0.00%      98.29%      CA
Estrada, Kevin                       2/15/2018             11/12/2020                                   No             0.96%      0.00%       0.00%      99.04%      CA
Dujardin, Donald                     11/2/2016              6/1/2024            8/5/2017                No             0.00%      0.38%       0.00%      99.62%      CA
Adzasoo, Mawuili                     1/17/2019              7/3/2019            7/5/2019                No             0.00%      0.00%       0.00%     100.00%      CA
Almowlad, Ahmed Ebrahim              8/27/2018             12/26/2018                                   No             0.00%      0.00%       0.00%     100.00%      CA
Baik, Justin                         5/28/2016              9/17/2017         9/30/2017                 No             0.00%      0.00%       0.00%     100.00%      TX
Baskett, Charley                     11/8/2016              2/16/2017         2/17/2017                 No             0.00%      0.00%       0.00%     100.00%      CA
Clarke, Oliver David                 4/24/2018              4/27/2018         11/15/2023                No             0.00%      0.00%       0.00%     100.00%      CA
Corn, Jack                           2/18/2017              6/29/2017         6/30/2017                 No             0.00%      0.00%       0.00%     100.00%      CO
Duval, Kelly Wright                  6/30/2016              8/9/2018                                    No             0.00%      0.00%       0.00%     100.00%      TX
Eisenberg, Steve                     8/14/2017             12/23/2017                                   No             0.00%      0.00%       0.00%     100.00%      OH
Fatunmise, Falope                   11/21/2017             11/25/2019                                   No             0.00%      0.00%       0.00%     100.00%      CA
Ferguson, Matt                       4/14/2017             10/24/2017         10/25/2017                No             0.00%      0.00%       0.00%     100.00%      IL
Fleurimond, Jessica                  9/27/2017             11/27/2017         11/28/2017                No             0.00%      0.00%       0.00%     100.00%      PA
Freitas, Christiano                  1/28/2017             12/18/2018         12/28/2018                No             0.00%      0.00%       0.00%     100.00%      NC
Gattison, Kenya                      5/18/2017              2/15/2018         2/16/2018                 No             0.00%      0.00%       0.00%     100.00%      CA
Hull, Ashley                         3/11/2017              1/22/2018                                   No             0.00%      0.00%       0.00%     100.00%      TX
Mack, Iain                          11/23/2016              1/31/2018                                   No             0.00%      0.00%       0.00%     100.00%      CA
Medina, Felix                        11/4/2017              3/3/2021           3/11/2021                No             0.00%      0.00%       0.00%     100.00%      CA
Mitchell, Danielle                   4/25/2018              9/11/2018                                   No             0.00%      0.00%       0.00%     100.00%      CA
Otman, Ben Mohaed Ala                5/9/2018               7/12/2019          7/15/2019                No             0.00%      0.00%       0.00%     100.00%      CA
Phillips, Zerita                     8/24/2016              8/6/2017           4/27/2018                No             0.00%      0.00%       0.00%     100.00%      TX
Quirino, Philip Jor-El Anthony       7/1/2017               2/1/2018            2/3/2018                No             0.00%      0.00%       0.00%     100.00%      CA
Robertson, Ashley                    6/9/2017               8/30/2018                                   No             0.00%      0.00%       0.00%     100.00%      OH
Ruff, Eric                          12/24/2016              4/1/2019                                    No             0.00%      0.00%       0.00%     100.00%      CA
Solis, Marie Y.                     11/15/2019              5/30/2021                                   No             0.00%      0.00%       0.00%     100.00%      CA
Warren, Brenda                       4/14/2018              5/7/2018            5/8/2018                No             0.00%      0.00%       0.00%     100.00%      CA
Zavala, Rafael                       1/22/2016              7/26/2017          7/26/2017                No             0.00%      0.00%       0.00%     100.00%      TX



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